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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

                                                          §
     LIONRA TECHNOLOGIES LTD.,
                                                          §
                   Plaintiff,                             §
          v.                                              §      Case No. 2:22-cv-00322-JRG-RSP
                                                          §
     FORTINET, INC.,                                      §
                   Defendant.                             §

                                       ORDER ON MOTIONS IN LIMINE
          The Court held a Pretrial Conference in the above-captioned case on July 31, 2024,

 regarding motions in limine filed by Plaintiff Lionra (Dkt. No. 465), and Defendant Fortinet (Dkt.

 No. 464). This Order summarizes and memorializes the Court’s rulings and reasons, including

 additional instructions given to the parties. While this Order memorializes such rulings, it in no

 way limits or constrains the Court’s rulings as announced into the record from the bench. Further,

 a party must approach the bench before introducing evidence or argument about the subject matter

 of a motion in limine that has been granted. Accordingly, it is hereby ORDERED as follows:

                                A. Lionra’s Motions in Limine (Dkt. No. 465)

          1. Plaintiff’s MIL No. 3: Exclude Evidence, Testimony, or Argument Regarding Technical

 Details of Defendants’ Patents, Including How They Relate to the Accused Products.

          This motion in limine is GRANTED, except to the extent that Defendants may note they

 have patents in this technology space (not that they cover the accused products, because they do

 not have an expert opinion to that effect). They shall not discuss the technical details of their

 patents beyond the level of information in Paragraph 36 of Ms. Salters’ report 1.




 1
  The Court ordered the redaction of one passage of ¶36 of the Salters report: “including over a
 hundred patents which relate to its FortiGate product line (including the Accused Products).” Dkt. No. 546-1.

                                                          1
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                          B.     Fortinet’s Motions in Limine (Dkt. Nos. 464)

        1. Defendant’s MIL No. 1: Lionra shall be precluded from raising any argument, evidence,

 testimony, insinuation, reference, or assertion regarding the entire market value of the accused

 products.

        This motion in limine is GRANTED to the extent of the total revenue figure referenced in
 .
 Fortinet’s motion.

        2. Defendant’s MIL No. 2: Lionra shall be precluded from raising any argument, evidence,

 testimony, insinuation, reference, or assertion regarding any specific royalty percentages or lump

 sum figures paid by Fortinet as part of any agreement that Lionra has not provided expert opinion

 testimony showing the agreement to be technically and economically comparable.

        This motion in limine is GRANTED as to the financial terms of the Trend Micro and K.

 Mizra licenses. The Court declines to preclude Fortinet from referencing its analysis of licenses

 beyond any agreement between counsel and the rulings on the motions to strike.
        SIGNED this 3rd day of January, 2012.
        SIGNED this 31st day of July, 2024.




                                                     ____________________________________
                                                     ROY S. PAYNE
                                                     UNITED STATES MAGISTRATE JUDGE




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